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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                              )
                                                       )               8:11CR254
                       Plaintiff,                      )
                                                       )
       vs.                                             )                ORDER
                                                       )
RONALD L. PETERSON,                                    )
                                                       )
                       Defendant.                      )


       This matter is before the court on the motion for an extension of time by defendant Ronald
L. Peterson (Peterson) (Filing No. 38). Peterson seeks until September 20, 2011, in which to file
pretrial motions in accordance with the progression order. Upon consideration, the motion will be
granted


       IT IS ORDERED:

       Defendant Peterson's motion for an extension of time (Filing No. 38) is granted. Peterson

is given until on or before September 20, 2011, in which to file pretrial motions pursuant to the

progression order. The ends of justice have been served by granting such motion and outweigh

the interests of the public and the defendant in a speedy trial. The additional time arising as a

result of the granting of the motion, i.e., the time between September 2, 2011, and September

20, 2011, shall be deemed excludable time in any computation of time under the requirement of

the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 2nd day of September, 2011.
                                                       BY THE COURT:

                                                       s/Thomas D. Thalken
                                                       United States Magistrate Judge
